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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                               CHAPTER 11

 APRIL LATRICE SPENCER,                               CASE NO.: 22-52524-BEM

                   Debtors.



      DISCLOSURE STATEMENT AS TO CHAPTER 11 LIQUIDATING PLAN OF
                     REORGANIZATION PROPOSED
                         BY RENASANT BANK

       Renasant Bank (“Renasant”), through its undersigned counsel, hereby submits the
following Disclosure Statement as to the proposed chapter 11 plan of liquidation (the “Plan”) for
April Latrice Spencer (“Debtor”) pursuant to section §1125 of Title 11 of the United States Code
(the “Bankruptcy Code”):

                          INTRODUCTION AND SUMMARY OF PLAN

         The Debtor filed a voluntary petition (the “Petition”) for reorganization pursuant to Chapter
11 of the United States Bankruptcy Code in the United States Bankruptcy Court for the Northern
District of Georgia on April 1, 2022. Since the filing of her bankruptcy case, the Debtor has
remained in possession and no Trustee has been appointed. As of the close of business on August
1, 2022, the Debtor had filed no plan of reorganization, nor had she requested any extension of her
exclusive right file a plan during the first 120 days of her bankruptcy case. Renasant therefore has
filed a creditor’s liquidating plan and this disclosure statement is submitted as providing “adequate
information” pursuant to 11 U.S.C. §1125, provided however, that this submission by Renasant is
limited to information provided to the plan proponent prior to the filing of the Debtor’s bankruptcy
case, the pleadings, schedules and reports filed by the Debtor post bankruptcy and a current
appraisal of real estate owned by the Debtor dated June 24, 2022.

        The Plan contemplates the sale of substantially all the Debtor’s non-exempt assets by way
of a Liquidating Trust (the “Sale”). As of the Petition Date on April 1, 2022, the principal assets
of the Debtor consisted of real estate located at 648 Carriage Way, N, Atlanta, Georgia 30327
(“Carriage Way”) which had an appraised value of $1,995,000 as of June 24, 2022. The Debtor
further had non-exempt personal property, which according to her bankruptcy Schedules, had a
value of $53,895.72 exclusive of her two Mercedes vehicles valued in the aggregate at $120,000.00
(less $15,000 of claimed exemptions) and any valuation of her ownership interest in a medical
practice known as Just Breast, LLC. Renasant is the holder of a third position undersecured claim
against Carriage Way in the amount of $412,893.12, less payments received from Just Breast, LLC
since the bankruptcy Petition Date. The other scheduled and/or filed claims against the bankrupt
estate are the claim of Ameris Bank in the amount of $1,530,059.39, less any post-petition
payments, which is secured by a first position lien on Carriage Way, secured tax claims totaling


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$122,404.25, priority tax claims of $76,735.13 and unsecured claims of $96,238.83 (collectively
the priority and unsecured claims are designated as the “Carve-Out Claims”). Renasant proposes
to pay all or a part of the Carve-Out Claims by way of “gifting” a portion of its proceeds of sale of
Carriage Way and waiving any deficiency claim it may have as an unsecured creditor. In the
absence of these voluntary concessions by Renasant, it appears that funds would not be available
for distribution to pay some or all of the Carve-Out Claims.

        This Disclosure Statement must be approved by the Court, after notice and a hearing, prior
to solicitation of acceptances for the Plan. The information contained in this Disclosure Statement
is made as of the date hereof, unless another time is specified. Neither the delivery of this
Disclosure Statement, nor any exchange of rights and information made in connection herewith,
nor any act in reliance hereon, should create under any circumstances an implication that there has
not been a change in the facts underlying the statements set forth herein.

        No representations concerning the Debtor, the extent of her liabilities, the value of her
properties and assets, or the value of any distributions offered to holders of claims or investor
interests in connection with the Plan, are authorized except as specifically denominated in this
Disclosure Statement.


         This Disclosure Statement may not be relied on for any purpose other than to determine
how to vote on the Plan, and nothing contained herein will constitute an admission of any fact or
liability, or be admissible in any proceeding involving the Debtors or any other party, or be deemed
to be advice on the tax or other legal effects of the Plan.

               EXPLANATION OF CHAPTER 11 AND PLAN CONFIRMATION

        Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. The
formulation and confirmation of a reorganization plan are the primary goals of a Chapter 11 case.
A reorganization plan is the vehicle for satisfying, to the extent possible, the Claims against and
Interests in the Debtor.

        Holders of Claims and Interests whose Claims or Interests are impaired by the Plan are
afforded the opportunity to vote to accept or reject the Plan. A Class of Claims or Interests is
impaired if the Claims or Interests constituting that Class are not paid in full or if the Claims or
Interests are affected by the Plan. The Bankruptcy Court will determine whether the impaired
Classes have accepted the Plan by determining whether sufficient acceptances have been received
from the Holders of Claims in such Classes. An impaired class of Claims will be determined to
have accepted the Plan if the Holders of Allowed Claims in that Class casting votes in favor of the
Plan (I) hold at least two thirds in amount of the Allowed Claims of the Holders in such Class who
actually vote on the Plan and (ii) comprise more than one half the number of Holders of the
Allowed Claims in such Class who actually vote on the Plan.

        The vote of the Class binds all members of the Class. Thus, if a Class votes to accept the
Plan, the provisions of the Bankruptcy Code designed to protect rejecting Classes cannot be
invoked even by members of that Class who voted to reject the Plan. Conversely, if a Class rejects


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the Plan, the member of such Class who voted to accept the Plan will be deprived of the benefits
of the Plan if not confirmed. Each subclass is treated as a separate Class for voting purposes.

        The Bankruptcy Code does not require that every Class of Claims and Interests vote in
favor of the Plan. The Plan, however, must be accepted by at least one Class of Holders of Claims
or Interests impaired under the Plan. The Bankruptcy Court may confirm the Plan notwithstanding
the rejection of the Plan by one or more Classes of Claims or Interests in what is inelegantly
referred to as a “cram down.” The criteria under which the Bankruptcy Court may Confirm the
Plan over the objection of one or more Classes of Claims or Interests are set forth in Section
1129(b) of the Bankruptcy Code and, among other requirements, include the requirement that the
Bankruptcy Court find, with respect to each Class that does not accept the Plan, that the Plan does
not discriminate unfairly against such Class, that the Plan is fair and equitable as to such Class,
and that the value or benefits to be distributed to the members of such Class will not be less than
the members of that Class would receive if the Debtors were liquidated under Chapter 7 of the
Bankruptcy Code. The treatment proposed by the Debtors for certain Holders of Claims not
accepting the Plan is detailed in another Article of the Plan.

        Renasant believes that the Plan as proposed satisfies all of the statutory requirements
imposed by Section 1129 of the Bankruptcy Code. Any objections to the Plan filed and prosecuted
by a party in interest, however, may prevent or delay Confirmation if the Court allows the
objection, or appeals of a denial of an objection are pursued.

                                  ARTICLE 1 - DEFINITIONS
        Unless otherwise defined, the capitalized terms contained in this Disclosure Statement shall
have the same meanings as described in the Plan. All capitalized terms used in this Disclosure
Statement not defined herein or in the Plan, but which are defined in the Bankruptcy Code, shall
have the respective meanings ascribed in the Bankruptcy Code. All capitalized terms used but not
defined in this Disclosure Statement, in the Plan or in the Bankruptcy Code shall have the
respective meanings ascribed in the Bankruptcy Rules.

        “Administrative Claim” means a Claim incurred by a Debtor on or after the Petition Date
and before the Effective Date for costs or expenses of administration of the Chapter 11 Cases
entitled to priority under sections 503(b) and 507(a)(1) of the Bankruptcy Code, including, without
limitation, any actual and necessary expenses of operating the businesses of the Debtor or
preserving the Estate, and any and all fees and expenses of Professionals to the extent allowed by
the Bankruptcy Court under sections 330, 331, or 503 of the Bankruptcy Code

        “Administrative Claims Bar Date” shall have the meaning set forth in Article 6 of this
Plan.

        “Affiliate” means with respect to any Person, all Persons that would fall within the
definition assigned to such term in section 101(2) of the Bankruptcy Code as if such Person was a
debtor in a case under the Bankruptcy Code.

       “Allowed,” when used in the context of a Claim, means: (a) any Claim or Administrative
Claim, proof or request for payment, as the case may be, of which was Filed with the Bankruptcy
Court on or before the applicable Bar Date or Administrative Claims Bar Date (as applicable), or


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which has been or hereafter is scheduled by the Debtor as liquidated in amount and not disputed
or contingent for which no contrary or superseding proof of claim has been Filed, and which, in
either case, is a Claim or Administrative Claim as to which no objection to the allowance thereof
has been Filed within the applicable period of limitation (if any) for objection to Claims or
Administrative Claims set forth in this Plan or as otherwise fixed by the Bankruptcy Court, or as
to which any objection has been determined by a Final Order (to the extent such claim is allowed
in whole or in part), or (b) a Claim or Administrative Claim that is allowed (i) in a Final Order or
(ii) pursuant to the terms of this Plan.

       “Avoidance Actions” means Causes of Action arising under sections 542, 544, 545, 547,
548, 549, 550, 551 or 553 of the Bankruptcy Code that remain assets of the Estates following the
Sale. Because the Plan Proponent is not in possession of the Estate, evaluation of these claims is
reserved to the Liquidating Trustee for further identification and prosecution.

       “Ballot” means the form distributed to each holder of an impaired Claim entitled to vote
on the Plan, on which is to be indicated, among other things, acceptance or rejection of the Plan.

        “Ballot Date” means the date established by the Bankruptcy Court and set forth in the
Disclosure Statement Order for the submission of Ballots pursuant to the terms and provisions of
the Plan.

      “Bankruptcy Code” means title 11 of the United States Code, as now in effect or hereafter
amended to the extent such amendment is applicable to the Chapter 11 Cases.

       “Bankruptcy Court” means the United States Bankruptcy Court for the Northern District
of Georgia or such other court having jurisdiction over this Chapter 11 Case.

       “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as prescribed by
the United States Supreme Court pursuant to section 2075 of title 28 of the United States Code,
and the local rules of the Bankruptcy Court, as now in effect or hereafter amended to the extent
such amendment is applicable to the Chapter 11 Cases.

        “Bar Date” means: (i) such dates set forth in this Plan or (ii) otherwise designated by the
Bankruptcy Court as the last dates for filing proofs of Claim (but not Administrative Claims and
Fee Claims for which the Administrative Claims Bar Date and Fee Claims Bar Date shall apply),
as the case may be, against the Debtor.

        “Business Day” means any day other than a Saturday, Sunday or legal holiday as such
term is defined in Bankruptcy Rule 9006(a).

        “Cash” means cash and cash equivalents, including, but not limited to, wire transfers,
checks and other readily marketable direct obligations of the United States of America and
certificates of deposit issued by banks.

        “Causes of Action” means all claims, rights, actions, causes of action, liabilities,
obligations, suits, debts, remedies, dues, sums of money, accounts, reckonings, bonds, bills,
specialties, covenants, contracts, controversies, agreements, promises, variances, trespasses,
damages or judgments, whether known or unknown and whether asserted or unasserted, including


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Avoidance Actions and actions to recover undisclosed assets from the Debtor. Because the Plan
Proponent is not in possession of the Estate, evaluation of these claims is reserved to the
Liquidating Trustee for further identification and prosecution.

        “Claim” means a claim as defined in section 101(5) of the Bankruptcy Code.

        “Claims Objection Deadline” shall mean the date 90 days after the Effective Date of this
Plan.

        “Class” means each category of Holders of Claims or Debtor’s Interests.

       “Confirmation Date” means the date of entry of the Confirmation Order on the docket of
the Bankruptcy Court.

       “Confirmation Hearing” means the hearing held by the Bankruptcy Court, as it may be
continued from time to time, to consider confirmation of this Plan.

       “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan
pursuant to section 1129 of the Bankruptcy Code, as the same may thereafter be modified by the
Bankruptcy Court entered in each of the Chapter 11 Cases.

        “Creditor” means a Holder of Claim(s) against the Debtor including, without limitation, a
Claim that arose on or before the Petition Date or a Claim against the Estate of any kind specified
in sections 502(g), 502(h) or 502(i) of the Bankruptcy Code.

        “Debtor” shall mean Dr. April Latrice Spencer, aka April L. Speed.

       “Debtor’s Interests” means any share of the membership interests or equity security (as
defined in Bankruptcy Code section 101(16)) of the Debtor outstanding on the Effective Date,
including, inter alia, any rights of any Person or Entity to purchase or demand the issuance of any
membership interest or economic interest related thereto, or any of them.

        “Disbursing Agent” means the Liquidating Trustee.

        “Disputed Claim” means any Claim or Administrative Claim (i) as to which a timely
objection or request for estimation in accordance with the Bankruptcy Code and Bankruptcy Rules,
or otherwise disputed in accordance with applicable law, has been interposed and (ii) that has not
been withdrawn or determined by a Final Order.

        “Disputed Claims Reserve” means a reserve, if any, of Cash for the relevant Class,
established pursuant to this Plan for the payment or other satisfaction of Disputed Claims that
become, in whole or part, Allowed Claims after the Effective Date.

       “Distribution(s)” means the distribution of Cash or other Property to be made in
accordance with this Plan.




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       “Distribution Date” means, with respect to any Allowed Claim, any date upon which a
Distribution is made in accordance with this Plan, including dates of both interim and final
Distributions.

        “Effective Date” means the Business Day this Plan becomes effective which shall be
fifteen (15) days after the entry of a final, non-appealed Confirmation Order by the Court.

        “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

        “Estate” means the estate of the Debtor created in this chapter 11 case pursuant to section
541 of the Bankruptcy Code.

        “Executory Contract” means any executory contract or unexpired lease subject to section
365 of the Bankruptcy Code, between any Debtor and any other Person or Entity.

        “Fee Application” means any application of any Professional in which a Fee Claim is
asserted.

       “Fee Claim” means a claim under sections 328, 330(a), 503 or 1103 of the Bankruptcy
Code for the compensation of a Professional or other Entity for services rendered or expenses
incurred in the Chapter 11 Cases.

        “Fee Claim Bar Date” has the meaning set forth in Section 2.6 of the Plan.

        “File”, “Filed” or “Filing” means file, filed or filing with the Bankruptcy Court.

        “Final Order” means an order entered by the Bankruptcy Court as to which the time to
appeal, petition for certiorari, or move for reargument or rehearing has expired and as to which no
appeal, petition for certiorari, or other proceedings for reargument or rehearing shall then be
pending, or as to which any right to appeal, petition for certiorari, reargue, or rehear shall have
been waived in writing in form and substance satisfactory to the Debtor or, in the event that an
appeal, writ of certiorari, reargument or rehearing has been sought, such order of the Bankruptcy
Court shall have been determined by the highest court to which such order was appealed, or
certiorari, reargument or rehearing shall have been denied, and the time to take any further appeal,
petition for certiorari, or move for reargument or rehearing shall have expired; provided, however,
that the possibility that a motion under Rules 59 or 60 of the Federal Rules of Civil Procedure, or
any analogous rule under the Bankruptcy Rules, may be filed with respect to such order shall not
preclude such order from being a Final Order.

       “General Unsecured Claims” means any Claim against the Debtor that is unsecured, other
than Priority Claims.

        “Holder” means a Person or Entity holding a Claim or Debtor’s Interest.

        “Impaired” shall have the meaning set forth in section 1124 of the Bankruptcy Code.

       “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code, or a judicial
lien as defined in section 101(36) of the Bankruptcy Code and includes, without limitation,


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mortgages, deeds of trust, security interests, conditional sale or other retention agreements,
mechanic’s liens, pledges, judgments, demands, easements, defects, options, liabilities,
obligations, interests, levies, assessments, defenses, setoffs, recoupments, title retention contracts,
encumbrances, leases, subleases, agreements, commitments, options to purchase, rights of first
refusal and restrictions of all kinds.

       “Non-Exempt Property” shall mean all assets of the Debtor which are not exempt or fully
claimed exempt pursuant to applicable law and as reflected upon Schedule C of the Debtor’s
Schedules.

       “Liquidating Trust” shall mean a trust created primarily for the benefit of all Creditors of
the Debtor, which shall, among other things, administer and distribute the assets available on
account of the Allowed Claims of Creditors under this Plan, and with respect to which, the
Liquidating Trustee will act as Disbursing Agent.

       “Liquidating Trust Agreement” means the agreement to be executed among the
Liquidating Trustee, Renasant and the Debtor, establishing the Liquidating Trust, substantially in
the form set forth in a Plan Supplement, pursuant to which the Liquidating Trustee shall manage
and administer the Liquidating Trust and distribute the proceeds thereof.

       “Liquidating Trustee” means the trustee of the Liquidating Trust. The Liquidating
Trustee will also serve as the Disbursing Agent for making Distributions to Holders of Allowed
Claims. Renasant proposes to appoint Mr. Christopher Tierney of Moore Colson as the
Liquidating Trustee.

       “Periodic Distribution Amount” means, with respect to each Periodic Distribution Date,
the amount of Cash equal to the Pro Rata Share of the Property assigned to the Liquidating Trust
pursuant to the Plan, to which holders of Allowed General Unsecured Claims are entitled, if any.

       “Periodic Distribution Date” means, such Business Day selected by the Liquidating
Trustee, in its sole and absolute discretion; provided, however that Distributions shall not be made
more than more than thirty (30) days after the closing of any sale of the Real Estate, absent other
order of Court.

        “Person” means a natural person, or any legal entity or organization including, without
limitation, any corporation, partnership (general or limited), limited liability company, business
trust, unincorporated organization or association, joint stock company, trust, association,
governmental body (or any agency, instrumentality or political subdivision thereof), or any other
form of legal entity.

       “Petition Date” means April 1, 2022, the date that the Debtor filed its petition for relief
under chapter 11 of the Bankruptcy Code.

     “Plan” means this document and all attachments, exhibits and schedules hereto, and any
amendments or modifications hereof.

        “Plan Supplement” means, a separate volume, to be filed with the clerk of the Bankruptcy
Court, including, among other documents, a form of the Liquidating Trust Agreement.


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      “Priority Claim” means any Allowed Claim asserted against any Debtor, other than an
Administrative Claim that is entitled to priority in payment under section 507(a) of the Bankruptcy
Code.

          “Professionals” means those Persons (i) employed pursuant to an order of the Bankruptcy
Court in accordance with section 327 of the Bankruptcy Code and to be compensated for services
rendered prior to the Effective Date, pursuant to sections 327, 328, 329, 330 and 331 of the
Bankruptcy Code, (ii) for which compensation and reimbursement has been allowed by the
Bankruptcy Court in a Final Order issued pursuant to section 503(b)(4) of the Bankruptcy Code,
or (iii) for which compensation and reimbursement is provided pursuant to this Plan.

       “Property” means all property and interests in property of the Debtor’s Estate of any
nature whatsoever, real or personal, tangible or intangible, existing on the Effective Date.

        “Pro Rata Share” means, as of any certain date, with respect to any Allowed Claim in any
Class, or set of Classes (in whole or in part), the proportion that such Allowed Claim bears to the
aggregate amount of all Allowed Claims in such Class or set of Classes (in whole or in part).

       “Real Estate” means the real property located at 648 Carriage Way, N, Atlanta, Georgia
30327 (“Carriage Way”).

       “Related Person” means, with respect to any Person, such Person’s predecessors,
successors, assigns and present and former Affiliates (whether by operation of law or otherwise)
and each of their respective members, partners, equity-holders, officers, directors, employees,
representatives, advisors, attorneys, agents and professionals, in each case acting in such capacity,
and any Person claiming by or through any of them.

        “Released Parties” shall mean (i) the Debtor, (ii) any Holder of the Debtor’s Interests, (iii)
the Liquidating Trustee, (iv) Renasant and (v) and the foregoing entity managers, members,
officers, directors, principals, employees, agents, advisors, attorneys, accountants, consultants,
representatives, and other professionals, in each case in their capacities as such and not in any
other capacity, provided however, that the Debtor shall not be released from any avoidance action
or causes of action to recover undisclosed assets identified by the Liquidating Trustee.

        “Sale” means the sale, transfer, conveyance and assignment of all right, title and interest
in and to Real Estate as defined herein, the proceeds of which shall be distributed among Holders
of Claims in accordance with the terms of the Plan as provided by Section 1123 of the Bankruptcy
Code.

        “Sale Order” means a final order entered by the Bankruptcy Court in form and substance
reasonably acceptable to the Purchaser (i) approving the Sale of the Real Estate, (ii) finding that
notice of the hearing concerning approval of said sale was given in accordance with the Bankruptcy
Code and constitutes such notice as is appropriate under the particular circumstances and that
Purchaser is a “good faith” Purchaser entitled to the protections afforded by Section 363(m) of the
Bankruptcy Code, and (iii) providing for the vesting of the purchased assets in the Purchaser, free
and clear of all Encumbrances, as provided in and to the maximum extent permitted by 11 U.S.C.
§§ 363(b) and (f).


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      “Schedules” means the Debtor’s Schedules of Assets and Liabilities filed with the
Bankruptcy Court pursuant to Bankruptcy Rule 1007, as they may be amended from time to time.

        “Secured Claim” means all or that portion of an Allowed Claim existing on the Effective
Date, to the extent that such Claim is treated under this Plan as not greater than the value of the
assets of the Debtor that the Bankruptcy Court finds are valid, perfected and unavoidable security
for such debt, in accordance with section 506(a) of the Bankruptcy Code and this Plan.

        “Unimpaired” means any Claim that is not Impaired.

        “Unsecured Claim” means any Claim that is not secured by a valid, perfected and
unavoidable Lien or a Letter of Credit posted by the Debtor as account parties, as set forth in this
Plan or as determined pursuant to a Final Order of the Bankruptcy Court, other than Administrative
Claims and Priority Claims.

               ARTICLE 2 – HISTORY AND DESCRIPTION OF THE DEBTOR

        GENERAL INFORMATION:

       Dr. April Latrice Spencer is the individual Debtor in this bankruptcy case. Dr. Spencer is
a 2003 graduate of the Morehouse School of Medicine and a 2008-2009 Fellow of the M.D.
Anderson Cancer Center. Dr. Spencer specializes in reconstructive breast surgery for cancer
survivors. The Debtor is the sole Member of an entity known as Just Breast, LLC which is the
corporate entity for her medical practice located in Atlanta, Georgia. Her only known source of
compensation is from Just Breast, LLC.

        PRIOR FINANCIAL STATEMENTS:

        Per a February 28, 2017 Personal Financial Statement submitted to Renasant by the Debtor,
the Debtor had cash on hand of $236,910.00, marketable stocks valued at $9,893.00, vehicles and
medical equipment valued at $473,900.00, real estate valued at $1,625,000.00, retirement accounts
having a value of $207,900.00, jewelry valued at $113,150.00 and artwork valued at $818,000.00
for a total of $3,484,753.00.

        Per a September 21, 2021 Financial Statement of Debtor submitted to Renasant by the
Debtor, the Debtor then had cash on hand of $16,200.00, a 2016 Mercedes valued at $64,000.00,
loans due to the Debtor in the amount of $39,000.00, college funds for her children having a value
of $14,500.00, furs valued at $16,000.00 real property valued at $1,800,000.00 and a watch valued
at $27,000.00 for a total of $2,091,700.00.

        Renasant did not prepare either of the above financial statements and cannot comment on
their accuracy.

        THE DEBTOR’S BANKRUPTCY SCHEDULES:

        As of the Petition Date on April 1, 2022, the principal assets of the Debtor consisted of real
estate located at 648 Carriage Way, N, Atlanta, Georgia 30327 (“Carriage Way”) which had a


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scheduled value or $1,700,000.00 as of the Petition Date. The Debtor further had non-exempt
personal property, which according to her bankruptcy Schedules, had a value of $53,895.72
exclusive of her two Mercedes vehicles valued in the aggregate at $120,000.00 (less $15,000 of
claimed exemptions) and any valuation of her ownership interest in her medical practice known as
Just Breast, LLC which has a scheduled value of zero. In the aggregate, the Debtor listed assets
having a value of $1,820,595.72.

       Renasant is unaware of the disposition of various of the assets owned by the Debtor from
time to time and cannot comment on the downturn in value of the Debtor’s financial condition
from $3,484,753.00 in February 2017 to $2,091,700.00 on April 1, 2022.

        VALUATION OF CARRIAGE WAY:

       The Carriage Way property is the Debtor’s principal residence and represents her largest
asset. By agreement with the Debtor, Renasant undertook to obtain an appraisal of the Carriage
Way property from an unrelated licensed appraiser. After inspecting the property and evaluating
three comparable properties that were less than .6 miles from Carriage Way, the property was
appraised as of June 24, 2022 at a value of $1,955,000.00. A true and correct excerpt of the
appraisal is attached hereto as Exhibit A. The sale of the Carriage Way property is one of the
principal components of funding the Plan.

        PREPETITION OPERATIONS OF JUST BREAST, LLC:

        Per the Profit Loss Statement provided by the Debtor to Renasant for the time period of
calendar year 2020, Just Breast, LLC had revenue associated with the medical practice of
$492,238.00 along with various forms of government funded COVID relief of $243,158.18 for
total revenue of $735,396.18. The COVID payments received by the medical practice are a non-
recurring form of revenue. Although Just Breast, LLC posted a net operating profit before taxes
of $296,384.09, the actual expense versus revenue of the entity without COVID support would
have yielded EBITDA of just $53,223.00. Notably, in 2020, Just Breast, LLC paid only $8,000
to Renasant on its indebtedness which, at that time, was in default and fully accelerated.

        For the time period from January 1, 2021 to June 30, 2021, the Debtor’s Profit Loss
Statement submitted by the Debtor to Renasant reflected similar operating results. For the first 6
months of 2021, Just Breast, LLC had operating revenue of $250,649.00 plus additional COVID
relief of $38,047.00 against pre-tax expenses of $236,268.70. After factoring out the one time
revenue item of COVID relief, the net operating profit of Just Breast, LLC for the first 6 months
of 2021 was just $17,380.00.

       Renasant is not in possession of any operating information related to Just Breast, LLC after
June 30, 2021 and is not able to offer additional information in that regard.




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     PREPETITION CASH WITHDRAWALS/DEPOSITS FROM JUST BREAST, LLC
BANK ACCOUNT:

        Just Breast, LLC maintains its corporate bank account at Renasant. There are multiple
unexplained cash deposits and withdrawals by the Debtor to and from the operating account of
Just Breast, LLC. By way of example, in a series of 7 transactions in the 90 days preceding the
Petition Date, the Debtor made cash withdrawals of $33,800.00 from the Renasant operating
account.

Likewise, by way of further example, during the nine month span between November 20, 2020
and July 9, 2021, the Debtor made a total of $35,555.00 in unexplained cash deposits to an
individually-owned checking account maintained with J P Morgan Chase bank, through one or
more Chase-owned Automated Teller Machines (ATMs), and made a total of $59,100.00 in
separate and additional cash deposits into the same account, though the latter amounts were not
deposited through an ATM. The majority of the all-cash ATM deposits occurred in close
chronological proximity to the Debtor’s air travel. Examples:

12/22/2020 – Traveled by air to New Orleans, LA
12/29/2020 – Made 4 separate deposits through Chase ATM in Sugarland, TX totaling $9,900.00
02/11/2021 – Traveled by air to New Orleans, LA
02/16/2021 – Made 2 separate deposits through Chase ATM in Atlanta totaling $2,000.00
04/23/2021 – Traveled by air to Miami Beach, FL
04/30/2021 – Deposited $40,000.00 cash to the Chase account (non-ATM transaction)
06/01/2021 – Traveled by air to Las Vegas, NV
06/07/2021 – Made two separate cash deposits to the Chase account totaling $19,100.00
06/14/2021 – Purchased theater tickets in Powell, TN
06/15/2021 – Made two separate deposits through Chase ATM in Atlanta totaling $6,380.00
07/02/2021 – Traveled by air to Cabo San Luca, MX and lodged there 4 nights
07/08/2021 – Deposited $1,980.00 through the Chase ATM in Atlanta
07/09/2021 – Made 2 separate deposits through Chase ATM in Atlanta totaling $7,600.00

      The sources of these deposits and use of funds from those withdrawals is unknown to
Renasant.

        POST-PETITION OPERATING REPORTS OF THE DEBTOR:

        In connection with her bankruptcy case, the Debtor has filed monthly operating reports
with the Court for the months ended April, May and June of 2022 (“MOR”). Those reports contain
three components in terms of financial information; namely submission of the Debtor-in-
Possession bank account, the Renasant operating account of Just Breast, LLC and a monthly
statement from American Express for an account that appears to be used both for personal and
business expenses.


        Highlights from the April MOR include the following:

                  The Debtor received payroll from Just Breast, LLC in the amount of $6,882.12.

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                  There were charges to the American Express Account for $22,493.00 and
                   payments of $22,290.00.

                  The Debtor and one of her children traveled to Raleigh Durham by air on March
                   29th, just prior to the Petition Date.

                  The Debtor and a companion traveled by air to Savannah on April 3rd.

                  The Debtor traveled to Las Vegas and stated at the Wynn Hotel on April 8th at a
                   cost of not less than $1,470.00. While in Las Vegas, the Debtor appears to have
                   made a luxury purchase at Louis Vuitton in the amount of $2,324.64.

        Highlights from the May MOR include the following:

                  The Debtor received payroll from Just Breast, LLC in the amount of $12,783.08.

                  There were charges to the American Express Account for $17,709.00 and
                   payments of $18,162.00.

                  The Debtor travelled to Dubai for a conference. On information and belief,
                   Renasant is advised that the Debtor was invited as a speaker and presumably
                   some of her travel was paid on her behalf. Nonetheless, the May American
                   Express Account statement reflects Dubai related travel charges of over $2,358.00
                   plus what appears to be a luxury purchase of a leather bag in Dubai in the amount
                   of $963.92. On her return trip to the United States, an overnight stay was
                   recorded in New York City at the Trump International Hotel in the amount of
                   $1,020.45.

        Highlights from the June MOR include the following:

                  The Debtor received payroll from Just Breast, LLC in the amount of $21,305.00.

                  There were charges to the American Express Account for $12,421.00 and
                   payments of $10,539.00.

        PRIOR PREPETITION TRAVEL :

        Although some travel made by the Debtor may be business related, her post-petition travel
habits are echoed by her pre-petition travel. By way of example, the travel expenditures made by
the Debtor from December 2020 to July 2021, included four trips to New Orleans, two trips to
Cabo San Luca, two trips to Las Vegas, a trip to Miami, a trip to Park City, Utah and a trip to
Orlando. All of these travels were made at a time when the Debtor was in substantial default with
her major creditors including Ameris Bank, Renasant Bank and the Internal Revenue Service.
The impact of the expense of these travels on the ability of the Debtor to pay her debts is
undetermined.




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        POTENTIAL UNDISCLOSED CORPORATE ENTITIES: The records of the Secretary
of State for the State of Georgia along with Tax Assessor’s records for Greenwood County, South
Carolina indicate the following entities which are not reflected on the Debtor’s Schedules:

                  Costillo Co., LLC was formed with the Georgia Secretary of State on March 23,
                   2022, just 7 days before the Petition Date. April Spencer, M.D. is listed as the
                   organizer of the company.

                  SC Armory Court, LLC was formed with the Georgia Secretary of State on May
                   29, 2021. As late as November 17, 2021, the Debtor represented to Renasant that
                   she was the sole member and manager of the entity. On information and belief,
                   SC 107 Armory Court, LLC owns an undeveloped parcel of water frontage lake
                   property in Ninety-Six, South Carolina which has a tax value of $60,000.00. Per
                   the April, May and June MORs filed with the Court, the law firm of Nelson
                   Mullins appears to receive a retainer of $250.00 per week associated with this
                   property from Just Breast, LLC.

       STORAGE FACILITIES: Just Breast, LLC rents two U-Haul storage units. Ostensibly,
these units are for the storage of records related to the medical practice. The actual purpose of
these units is unknown.

        INSURANCE LAPSE: Renasant is advised that the Debtor recently allowed premiums
to lapse on a collateral-assigned life insurance policy with a face value (death benefit) of $1
Million.


                           ARTICLE 3 – CLAIMS AGAINST THE ESTATE

        The Debtor filed her bankruptcy case on April 1, 2022. Although no bar date has been set
by the Court, the creditors listed in the Debtor’s schedules are few and all of them appear to have
filed claims in the case as of the filing of this Disclosure Statement. A true and correct copy of
the Claims Register in this case is attached hereto as Exhibit B. Per the Claims Register, the known
claims against the estate are listed and classed as follows under the Plan:

CLASS 1- ADMINISTRATIVE CLAIMS: Unknown as of the present and are subject to court
approval upon filing of an appropriate application.

CLASS 2 – AMERIS BANK: Ameris Bank is the holder of a fully secured claim as to Carriage
Way in the amount of $1,500,059.39. Ameris Bank is unimpaired. As of the Petition Date, the
arrearage due to Ameris Bank was over $323,415.85. On information and belief, Renasant is
advised that the Debtor is performing an interim payment agreement.

CLASS 3 – INTERNAL REVENUE SERVICE: The Internal Revenue Service is the holder of a
fully secured claim as to Carriage Way in the amount of $97,749.36. The Internal Revenue Service
is unimpaired.



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CLASS 4 – FULTON COUNTY TAX COMMISSIONER: The Fulton County Tax Commissioner
is the holder of a fully secured claim as to Carriage Way in the amount of $24,654.89. The Fulton
County Tax Commissioner is fully secured.

CLASS 5 – RENASANT BANK: Renasant Bank is the holder of an undersecured claim as to
Carriage Way in the amount of $412,893.12. Renasant Bank is impaired. As of the Petition Date,
the indebtedness due from the Debtor to Renasant Bank was further the subject of a money
judgment in that same amount due to non-payment by the Debtor of a prior forbearance agreement.
Following the filing of the Debtor’s bankruptcy case, the Debtor negotiated an interim payment
arrangement to be paid by the co-debtor, Just Breast, LLC which is currently being timely
performed. That arrangement expires on October 31, 2022.

CLASS 6 – PRIORITY CLAIMS:

        6.1 – GEORGIA DEPARTMENT OF REVENUE: The Georgia Department of Revenue
is the holder of a priority claim in the amount of $22,843.97. The claim is impaired.

        6.2 - INTERNAL REVENUE SERVICE: The Internal Revenue Service is the holder of
a priority claim in the amount of $53,891.16. The claim is impaired.

CLASS 7 – UNSECURED CLAIMS: Per the Claims Register, there are unsecured claims filed
in the aggregate amount of $96,238.83 together with any deficiency claim which may become due
to Renasant. These claims are impaired.

                      ARTICLE 4 - MEANS OF FUNDING THE PLAN

       CARRIAGE WAY: The Debtor’s principal residence had an appraised value of
$1,995,000 as of June 24, 2022. Renasant proposes that upon the effective date of the Plan, the
Liquidating Trustee shall list the Carriage Way property for sale and after paying the customary
expenses of sale along with the Debtor’s statutory homestead exemption, distribute the net
proceeds of sale to the holders of allowed claims pursuant to the Carve-Out Claims waterfall
discussed below.

       NON-EXEMPT ASSETS: The Debtor scheduled non-exempt personal property having a
value of $53,895.72, exclusive of her two Mercedes vehicles valued in the aggregate at $120,000.
She places no value as to her ownership of a medical practice known as Just Breast, LLC. Renasant
proposes that upon the Effective Date of the Plan, the Liquidating Trustee shall collect the non-
exempt personal property of $53,895.72 along with one of the Mercedes vehicles valued by the
Debtor at $60,000 and market said property for sale. After paying the customary expenses of sale
along with the Debtor’s statutory exemption claims, the Liquidating Trustee shall distribute the
net proceeds of sale to the holders of allowed claims pursuant to the Carve-Out Claims waterfall
discussed below.

      GIFTING BY RENASANT: Out of any funds available from the sale of Carriage Way,
Renasant shall gift the greater of ten percent (10%) of its distribution or $30,000.00 to pay the
Carve-Out Claims. In addition, Renasant will waive any potential deficiency claim thereby


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increasing the percentage distribution to the Carve-Out Claims as it is anticipated that the
deficiency claim of Renasant would be on the order of approximately $270,000.00 following the
sale of Carriage Way.

        THE LIQUIDATING TRUST: Assuming payment in full of Classes 2, 3 and 4 at the
closing of the sale of Carriage Way, and further assuming transactional costs of ten percent (10%),
there will be an anticipated distribution of approximately $142,500.00 to Renasant. Consequently,
it is anticipated that Renasant shall contribute $30,000.00 to the Liquidating Trust. Further,
assuming that the non-exempt assets of the Debtor are liquidated at a thirty percent (30%) discount
from the scheduled values, approximately $80,000.00 additional funds will be available to the
Liquidating Trust for distribution to pay allowed administrative claims and some or all of classes
Classes 6 and 7 together with the distribution of any funds realized from the pursuit of any
Avoidance Actions as defined herein.

        DEBTOR’S RETAINED PROPERTY: The Debtor shall retain her exempt assets, one
Mercedes vehicle to be selected by the Liquidating Trustee and her membership interest in Just
Breast, LLC.
                    ARTICLE 5 - CARVE OUT CLAIMS WATERFALL

         Except as limited by section 1141(d) of the Bankruptcy Code, the Plan provides that the
treatment of and consideration to be received by Holders of Allowed Claims or Debtor’s Interests
classified in Classes 1, 2, 3, 4, 5, 6, and 7, respectively, pursuant to this Article shall be in full and
complete satisfaction, settlement, release and discharge of such Claims and Debtor’s Interests.
The Debtor’s obligations in respect of such Claims and Debtor’s Interests shall be satisfied in
accordance with the terms of this Plan. Allowed claims are proposed to be paid as follows:

CLASS 1- ADMINISTRATIVE CLAIMS: Unknown as of the present and are subject to court
approval upon filing of an appropriate application. And will be paid in full. These claims are
estimated at $30,000.00.

CLASS 2 – AMERIS BANK: Ameris Bank is the holder of a fully secured claim as to Carriage
Way in the amount of $1,500,059.39. Ameris Bank is unimpaired and will be paid in full at any
closing of the sale of Carriage Way.

CLASS 3 – INTERNAL REVENUE SERVICE: The Internal Revenue Service is the holder of a
fully secured claim as to Carriage Way in the amount of $97,749.36. The Internal Revenue Service
is unimpaired and will be paid in full at any closing of the sale of Carriage Way.

CLASS 4 – FULTON COUNTY TAX COMMISSIONER: The Fulton County Tax Commissioner
is the holder of a fully secured claim as to Carriage Way in the amount of $24,654.89. The Fulton
County Tax Commissioner is fully secured and will be paid in full at any closing of the sale of
Carriage Way.

CLASS 5 – RENASANT BANK: Renasant Bank is the holder of an undersecured claim as to
Carriage Way in the amount of $412,893.12. Renasant Bank is impaired. Upon closing, Renasant
will be paid the value of its secured claim less the greater of ten percent (10%) of its distribution


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or $30,000.00 to pay the Carve-Out Claims which amount shall be paid over to the Liquidating
Trustee for further distribution. Renasant shall waive any deficiency claim to which it may be
entitled in Class 7, provided however, that Renasant does not waive its deficiency claim for any
purposes related to voting on this Plan.

CLASS 6 – PRIORITY CLAIMS:

        6.1 – GEORGIA DEPARTMENT OF REVENUE: The Georgia Department of Revenue
is the holder of a priority claim in the amount of $22,843.97. The claim is impaired and will be
paid pro-rata by the Liquidating Trustee out of available funds from the liquidation of the Debtor’s
non-exempt assets.

        6.2 - INTERNAL REVENUE SERVICE: The Internal Revenue Service is the holder of
a priority claim in the amount of $53,891.16. The claim is impaired and will be paid pro-rata by
the Liquidating Trustee out of available funds from the liquidation of the Debtor’s non-exempt
assets.

CLASS 7 – UNSECURED CLAIMS: Per the Claims Register, there are unsecured claims filed
in the aggregate amount of $96,238.83 together with any deficiency claim which may become due
to Renasant. Renasant waives any payment from Class 7, provided however, that Renasant does
not waive its deficiency claim for any purposes related to voting on this Plan. These claims are
impaired. To the extent that Classes 1 through 6 are paid in full, Class 7 will be paid pro-rata by
the Liquidating Trustee out of available funds from the liquidation of the Debtor’s non-exempt
assets and the pursuit of any Avoidance Actions.


                           ARTICLE 6 – LIQUIDATION ANALYSIS

       Because this is a liquidating plan which proposes to distribute all of the Debtor’s non-
exempt assets to holders of allowed claims, no liquidation analysis is offered in this Disclosure
Statement.


                                ARTICLE 7
       INVALIDATION OF LIENS AND DISCHARGE OF CLAIMS AND INTERESTS

       Confirmation of a plan will discharge the Debtor from all debts and claims, pre- and post-
confirmation, and other debts and claims except as provided for in the Plan, the order confirming
the Plan, or the bankruptcy code; confirmation vests all property of the Debtor’s estate in the
reorganized Debtor, free and clear of all liens and claims and interests of creditors and binds the
Debtor, creditors, and other parties regardless of whether they have accepted the Plan.




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                                       ARTICLE 8
                                MODIFICATION OF THE PLAN

       Renasant may amend or modify the Plan at any time prior to the entry of an Order
Confirming the Plan without the approval of the Court. Subsequent to the entry of the
Confirmation Order, the Renasant may modify the Plan before substantial consummation of the
Plan with the approval of the Court.

                                      ARTICLE 9
                                WITHDRAWAL OF THE PLAN

        Renasant reserves the right to revoke and withdraw the Plan as the plan of reorganization
for the Chapter 11 case, at any time prior to the Confirmation Date if conditions set forth in the
Plan cannot be satisfied for any reason after the Confirmation Date, at any time up to the Effective
Date. If Renasant revokes or withdraws the Plan prior to the Confirmation Date, then the Plan
shall be deemed null and void.


                                      ARTICLE10
                               RETENTION OF JURISDICTION

       Subsequent to Confirmation of the Plan, the Court will retain jurisdiction to hear and
determine all Claims against the Debtor and to hear and to enforce all causes of action which exist
on behalf the Debtor, including, without limitation, all turnover and avoidance causes of action
granted to the Debtor and that will be owned and possibly pursued by the Debtor, post-
confirmation under the Bankruptcy Code. The Court will also retain jurisdiction to construe and
apply the provisions of the Plan, including the administration and implementation of the Plan, to
enter orders in aid of consummation of the Plan, to effectuate the abandonment of assets, if
necessary, to issue any orders in connection with the Plan in these proceedings, to hear and decide
applications for compensation and reimbursement of expenses, to resolve objections to Claims,
adversary proceedings, and matters pending independently of the Plan and to close the Chapter 11
case.




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        Respectfully submitted this 17 th day of August 2022.



                                                  /s/ Eric J. Breithaupt
                                                  Eric J. Breithaupt
 Stites & Harbison, PLLC                          Georgia Bar Number 596142
 303 Peachtree Street, N.E.                       As Counsel for Renasant Bank
 2800 SunTrust Plaza
 Atlanta, GA 30308
 Telephone: 404-739-8974
 Facsimile: 404-739-8870
 ebreithaupt@stites.com




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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                               CHAPTER 11

 APRIL LATRICE SPENCER,

                   Debtors.                           CASE NO.: 22-52524-BEM


                                        NOTICE OF HEARING


       PLEASE TAKE NOTICE that Stites & Harbison, PLLC has filed its Disclosure
Statement as to Chapter 11 Liquidating Plan of Reorganization Proposed by Renasant Bank.

      PLEASE TAKE FURTHER NOTICE that the Court will hold a telephonic hearing on
the Application at the following toll-free number 833-568-8864; meeting id 160 862 0914 on
September 20, 2022 at 11:00 a.m. in U.S. Courthouse, 75 Ted Turner Drive (f/k/a Spring Street)
SW, Atlanta, Courtroom 1402.

       Matters that need to be heard further by the Court may be heard by telephone, by video
conference, or in person, either on the date set forth above or on some other day, all as determined
by the Court in connection with this initial telephonic hearing. Please review the “Hearing
Information” tab on the judge’s webpage, which can be found under the “Dial-in and Virtual
Bankruptcy Hearing Information” link at the top of the webpage for this Court,
www.ganb.uscourts.gov for more information.

         Your rights may be affected by the court’s ruling on these pleadings. You should read these
pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy case.
(If you do not have an attorney, you may wish to consult one.) If you do not want the court to grant
the relief sought in these pleadings or if you want the court to consider your views, then you and/or
your attorney must attend the hearing. You may also file a written response to the pleading with
the Clerk at the address stated below, but you are not required to do so. If you file a written
response, you must attach a certificate stating when, how and on whom (including addresses) you
served the response. Mail or deliver your response so that it is received by the Clerk at least two
business days before the hearing. The address of the Clerk's Office is Clerk, U. S. Bankruptcy
Court, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also mail a copy of your response
to the undersigned at the address stated below.

        If a hearing on the motion for relief from the automatic stay cannot be held within thirty
(30) days, Movant waives the requirement for holding a preliminary hearing within thirty days of
filing the motion and agrees to a hearing on the earliest possible date. Movant consents to the
automatic stay remaining in effect until the Court orders otherwise.

        Dated this 17th day of August, 2022.



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                                                /s/ Eric J. Breithaupt
                                                Georgia Bar No. 596142

 For the Firm of
 STITES & HARBISON, PLLC
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 2800 SunTrust Plaza
 Atlanta, Georgia 30308
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 Facsimile: (404) 739-8870
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

 IN RE:                                               CHAPTER 11

 APRIL LATRICE SPENCER,

                   Debtors.                           CASE NO.: 22-52524-BEM




                                   CERTIFICATE OF SERVICE

      I, Eric J. Breithaupt, of the firm of Stites & Harbison, PLLC, 303 Peachtree Street, N.E.,
2800 SunTrust Plaza, Atlanta, GA 30308, certify:

        That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the 17th day of August, 2022, the following parties in the above-styled case were
served a copy of the Disclosure Statement as to Chapter 11 Liquidating Plan of Reorganization
proposed by Renasant Bank and Notice of Hearing this date either by electronic means of the
Court or via First Class U.S. Mail:


 April Latrice Spencer                              The Rothbloom Law Firm
 648 Carriage Way                                   Attn: Howard D. Rothbloom
 Atlanta, Georgia 30327                             309 E. Paces Ferry Road, Suite 400
                                                    Atlanta, Georgia 30305

 Vanessa A. Leo                                     Navient
 Office of the United States Trustee                P.O. Box 9533
 362 Richard B. Russell Building                    Wilkes barre, PA 18773
 75 Ted Turner Drive SW
 Atlanta, Georgia 30303

 Internal Revenue Service                           U.S. Small Business Administration
 P.O. Box 7346                                      2 North Street, Suite 320
 Philadelphia, PA 19101                             Birmingham, AL 35203

 Amin, Turocy & Watson                              Wells Fargo Bank, N.A.
 200 Park Avenue, Suite 300                         P.O. Box 10438, MACF8235-02F
 Beachwood, OH 44122                                Des Moines, IA 50306



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 Capital One Bank
 P.O. Box 85064
 Richmond, VA 23285

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

        Done this August 17th, 2022.

                                                   /s/ Eric J. Breithaupt
                                                   Georgia Bar No. 596142




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                             EXHIBIT “A”




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                                SUMMARY APPRAISAL REPORT

                                OF THE REAL PROPERTY LOCATED AT

                                648 Carriage Way NW
                                Atlanta, GA 30327



                                for

                                Renasant Bank
                                209 Troy Street
                                Tupelo, MS 38804




                                as of

                                06/24/2022


                                by

                                Gordon Ray Teel Jr
                                1180 NIX RD
                                ALPHARETTA, GA 30004




                                TEEL APPRAISALS & ADVISORY, INC.
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                                                      Uniform Residential Appraisal Report                                                               Fite # 220616
         The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
           Property Address 648 Carriage Way NW                                                          city Atlanta                          State GA              Zip Code 30327
          Borrower Just Breast, LLC                                      Owner of Public Record April Speed                                    county Fulton
          Legal Description LL 160, 17th Dist., Fulton Cty, Lot 5, Carriage Way, Plat bk. 88, Pg. 31
       S Assessor's Parcel # 17 0160 0004 005 5                                                          Tax Year 2021                         RE. Taxes $ 24,167
       U Neighborhood Name         Carriage Way                                                          Map Reference 496 G-10                        Census Tract 98.02
       , Occupant XI Owner 7 Tenant           [--7     Vacant            Special Assessments $ 0                        7 PUD             HOA $ 0               7 per year ❑per month
       E Property Rights Appraised I X I Fee Simple           7Leasehold nOther (describe)
      C Assignment Type I I Purchase Transaction I I Refinance Transaction I X I Other (describe) To provide an opinion of market value.
       T Lender/Client Renasant Bank                                                 Address 209 Troy Street, Tupelo, MS 38804
          Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of the appraisal? I I Yes I X I No
          Report data source(s) used, offering price(s), and date(s). No evidence of a current listing or pending sale has been found in FMLS
         or GAMLS p.nd no one has made the appraiser aware of any pending change in ownership of the subject.
          1 1 I did I I did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
     O
     ,C,, performed.
     N
     T Contract Price $                Date of Contract                  Is the property seller the owner of public record? nYes     7 No Data Source(s)
     R Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?             Yes I      I No
     A If Yes, report the total dollar amount and
     C
                                                     describe the items to be paid:
      T

           Note: Race and the racial composition of the neighborhood are not appraisal factors.
                   Neighborhood Characteristics
                    r---1 Urban
                                                                                   One-Unit Housing Trends                              One-Unit Housing          Percent Land Use %
     N
     E Location                   1-3-c1 Suburban 7Rural Property Values 7 Increasing i_x_I Stable I Declining           PRICE        AGE One-Unit           85 %
     I Built-Up I X I Over 75%      25-75%      Under25% Demand/Supply I I Shortage I X I In BalanceI Over Supply $(000)              (yrs) 2-4 Unit           0%
     G Growth 7 Rapid           X I Stable      Slow     Marketing Time I X I Under 3 mthsI I 3-6 mths I I Over 6 mths 1,045 Low           0 Multi-Family      0%
     H Neighborhood Boundaries Crest Valley Dr to
     B
                                                          the North, Powers Ferry Rd to the East, 2,100 High                              60 Commercial        5%
     0 Nancy Creek to the South and Randall Mill/Garmon Rd to the West.                                                1,482 Pred.        56 Other           10 %
     R Neighborhood Description The subject neighborhood is an established neighborhood of homogeneous single family detached homes of average quality which
     H generally appear well maintained. Employment centers are easily accessible and commute times during peak traffic periods are considered reasonable. Schools,
     n parks and shopping are all close by. 10% other land use refers to the vacant or undeveloped land.
     6     Market Conditions (including support for the above conclusions) Market conditions at the time of the appraisal are average. Interest
          rates are generally still attractive. These conditions are advantageous to buyers and sellers. See MC Page for further
          details.
           Dimensions Irregular-See Site Map                                                Area 1.01 ac                             shape Irregular              view Naes:
           Specific Zoning Classification R2                                            Zoning Description SitIgle Family Residential
           Zoning Compliance X Legal I I Legal Nonconforming (Grandfathered Use)                              I I No Zoning I I Illegal (describe)
           Is the highest and best use of the subject property as improved (or as proposed per plans and specifications) the present use? I XI Yes I ,I No If No, describe
       Residential use is the only legal permissible use and this is unlikely to change in the future, therefore the present use is the only highest and best.
     s Utilities Public Other (describe)                                       Public Other (describe)
                                  Li
                                                                                                                            Off-site Improvements--Type Public                   Private
     I Electricity I XI                                       Water             I XI I I                                    Street       Asphalt               I    xI            7
     T Gas       I XI I I
     E FEMA Special Flood Hazard Area I
                                                                    Sanitary Sewer IXI I I                                Alley      None                          I __JIJ
                                                     I Yes I X I No FEMA Flood Zone Zone X             FEMA Map No. 13121CO231F                     FEMA Map Date 09/18/201
           Are the utilities and off-site improvements typical for the market area?     I X I Yes „  I I No. If No, describe
           Are there any adverse site conditions or edema' factors (easements, encroachments, environmental conditions, land uses, etc.)? riYes D1( No If Yes, describe



                    General Description                              Foundation                    Exterior Description          materials/condition Interior              materials/condition
       Units I x I One     One with Accessory Unit I I Concrete Slab I I Crawl Space            Foundation Walls Concrete Blk/Gd             Floors       Hdwd,Tile/Gd
       # of Stories 2                               I X I Full Basement I I Partial Basement Exterior Walls Brick-4-Sides/Gd                  Walls       Drywall/Good
       Type I X I Del. I Att.Li S-Det/End Unit Basement Area                     2,893 sq. ft. Roof Surface CompShingle/Gd                   Trim/Finish       Wood/Good
      I XI ExistingnProposed7 Under Const. Basement Finish                               81 % Gutters & Downspouts      Alurninum/Gd Bath Floor                Tile/Good
       Design (Style) Regency                       [X I Outside Entry/Exit I I Sump Pump Window Type D/H/Gd                                 Bath Wainscot Tile/Good
       Year Built      1968                          Evidence of I I Infestation                Storm Sash/Insulated    None                 Car Storage I I None
       Effective Age (Yrs) 15                       7 Dampness I I Settlement                   Screens         None                         FK Driveway # of Cars 2
       Attic                      None               Heating I X I FWA I I I-MA3B I I Radiant Amenities                I WoodStove(s)# 0 Driveway Surface Concrete
    I j X Drop Stair        7 Stairs                j I Other            I Fuel Gas            ITIFireplace(s) # 3 F (1Fence Metal FR1 Garage # of Cam 2
    M 7 Floor                     Scuttle            Cooling ITICentral Air Conditioning             Patio/Deck None X Porch Front 7 Carport # of Cars 0
    R
             Finished       nHeated                 I I Individual        I 7 Other                  Pool None 7 Other None                   X 1 Att. npet I I Built-in
    0 Appliances I XI Refrigerator I XI Range/Oven I X I Dishwasher I X Disposal I XI Microwave I P IWasher/Dryer I I Other (describe)
    V Finished area above grade contains:              10 Rooms                 5 Bedrooms        3.1 Bath(s)        4,223 Square Feet of Gross Living Area Above Grade
    E Additional features (special energy efficient items, etc.) None Noted
    M
    E
    N Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.). C 3 :Kitchen-updated-six to ten
    T years ago:Bathrooms-updated-six to ten years ago:The subject is in good condition overall. No deficiencies were noted
    S and no repairs are required at this time. No external depreciation was noted.


        Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property? ❑ Yes I XI No If Yes, describe
       "A head and shoulders inspection of the attic was made and no signs of infestation were noted during the inspection."


       Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)? El Yes I I No If No, describe
      In conformance with FNMA's requirement, the appraiser has followed ANSI Z765-2021American National Standards Institute requirement to determine GLA and non GLA areas of the
     .smbieet—Please note that public records do not follow this reauirement to determine GLA and therefore. the appraiser's GLA and public records may or may not differ.
   Freddie Mac Form 70 March 2005                          UAD Version 9/2011                Page 1 of 6                                                    FannieMaeForm 1004 March2005


                                                                TEEL APPRAISALS & ADVISORY, INC.
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                                                                 Uniform Residential Appraisal Report                                                                           File #    220616
                 There are       2       comparable properties currently offered for sale in the subject neighborhood ranging in price from $               1,351,500              to $       1,905,000                   .
                 There are       8       comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $               1,045,000               to $    2,100,000                  .
                          FEATURE               I       SUBJECT                          COMPARABLE SALE # 1                         COMPARABLE SALE # 2                             COMPARABLE SALE # 3
                648 Carriage Way NW                                          361 Blanton Rd. NW           4363 Paran Place NW          459 Blanton Rd.
                Address   Atlanta GA 30327                                   Atlanta, GA 30342            Atlanta GA 30327             Atlanta, GA 30342
                Proximity to Subject                                         0.60 miles E                 0.55 miles NW                0.42 miles NE
                Sale Price                      $                                             $ 2,100,000                  $ 2,038,000                $ 1,415,000
                Sale Price/Gross Uv. Area $                        sq. ft.   $ 469.17 sq. ft.             $ 565.33 sq. ft.             $ 357.68 sq. .
                Data Source(s)                                               FMIS#7017777 Compflo:DOM 4                    FMLS#6882853, Coma o:DOM 33                       FMLS#7016453, Compflo:DOM 10
                Verification Source(s)                                       gsccca.org                                    gsccca.org                                        gsccca.org
                VALUE ADJUSTMENTS                    DESCRIPTION                  DESCRIPTION          -,(-)$ Adjustment        DESCRIPTION               +(-)$ Adjustment       DESCRIPTION           +(-)$ Adjustment
                Sale or Financing                                            ArmLth                                      ArmLth                                           ArmLth
                Concessions                                                  Cash:135                                    Conv;0                                           Conv:0
                Date of Salefffime                                           s04/22'c03/22                               s08/21'c07/21                                    s05/22;c03/22
                Location                        N•Res•                       N;Res;                                      N•Res•                                           N;Res•
                Leasehold/Fee Simple            Fee Simple                   Fee Simple                                  Fee Simple                                       Fee Simple
                Site                            1.01 ac                      34692 sf                                  0 36666 sf                                       0 24150 sf                                    0
                View                            N:Res:                       N;Res;                                      N;Res;                                           N:Res;
               Design (Style)                   DT2:Regency                  DT2:Regency                                 DT2:Modern                                     0 DT2;Regency
               Quality of Construction          Q4                           Q4                                          Q4                                               Q4
                Actual Age                      54                           53                                        0 56                                             0 58                                     0
               Condition                        C3                           C3                                          C3                                               C4                               +50,000
               Above Grade                       Total Bdrms.    Baths        Total Bdrms.   Baths                         Total Bdrms.      Baths                           Total Bdrms.      Baths
               Room Count            10 5       3.1 11 4         3.1                                     0 10 3         3.0         +3,500 9      5    3.1               0
        A
              G s Living
               m'          Are
                                 a     4 223 so. ft.     4,476 sq. ft.                              -7,590 3 605         sq. ft.   +18,540 3,956        sq. ft.    +8,010
         E Basement & Finished     2893sf2340sfwo1395sf698sfwo                                    +11,984 960sf960sfWo             +15,464 1620sf1039sfwo         +10,184
         S Rooms Below Grade       5rrlbr1.0balo lrrlbr1.0balo                                    +29,556 lrrlbr1.0ba0o            +24,840 lrrObr1.0balo          +23,418
              Functional Utility   Good              Good                                                  Good                            Good
        0. Heating/Cooling         FWA/CAC           FWA/CAC                                               FWA/CAC                         FWA/CAC
         M Energy Efficient Items  None Noted        None Noted                                            None Noted                      None Noted
         P Garage/Carport          2ga2dw            2ga2dw                                                2ga2dw                          3ga3dw                 -10,000
        'A Porch/Patio/Deck        Frt Porch         Cvfrpch/Deck                                   -5,000Patio                    +10,000 Cvfrpch/Patio            -5,000
             Kitchen               Deluxe Kitchen Deluxe Kitchen                                           Deluxe Kitchen                  Standard BI's           +7,500
         !".
          ' Fireplaces             3 Fireplaces      2 Fireplaces —                                +2,000 2 Fireplaces              +2,000 2-Fireplaces -          +2;000
             SiteI iiiprovmentS:None                 None--                                          . -== Pool                    -50,000 None -        .
      I: Net Adjustment (Total)
      I                                                                          1 Xi +   [---1 _ $30,950      13—
                                                                                                                 (1+ [ i -       $  24 344 Di( .r7 -            $ 86,112
        Ap     Adjusted Sale Price
               of Comparables
                                                                             Net Adj.   1.47 %             Net Adj.  1.19 %                Net Ac
                                                                                                                                                )   6.09 %
                                                                             GrossAdj. 2.67 % $ 2,130,950 GrossAdj. 6.10 % $ 2,062.344 GrossAdj. 8.21 % $ 1.501,112
        P I I XI did         Li did not research the sale or transfer history of the subject property and comparable sales.             If not, explain
      R
      0
     d My research               ri did x             did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
     H        Data Source(s)             GSCCCA.org (Fulton Superior Court Clerk)
              My research        I     I did    xi did not reveal any prior sales or transfers of the comparable sales for the prior year to the date of sale of the comparable sale.
              Data Source(s)             GSCCCA.org (Fulton Superior Court Clerk)
              Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                 ITEM       .                                SUBJECT                     COMPARABLE SALE # 1                     COMPARABLE SALE # 2                     COMPARABLE SALE # T
              Date of Prior Sale/Transfer
              Price of Prior Sale/Transfer
              Data Source(s)                               gsccca.org               gsccca.org               gsccca.org           gsccca.org
              Effective Date of Data Source(s)             06/03/2022               06/03/2022               06/03/2022           06/03/2022
          Analysis of prior sale or transfer history of the subject property and comparable sales The subject is not currently under contract and a
         search of local multiple listing records indicate the subject has not sold within the last 36 months prior to the appraisal
         date, and that the comparable properties have not sold within the last 12 months prior to the sale date of the comparable
         unless otherwise denoted below the comparable.


          Summary of Sales Comparison Approach The comparable properties analyzed here are recent closed sales located in the subject market area. They
         are the most similar and most recent sales available. All comparable properties are considered good indicators of value for the subject
         property. The adjustments made to the sales represent the appraiser's attempt to isolate and compensate for significantly dissimilar features or
         conditions. Adjustment rates were derived through broader market paired sales analysis along with market reaction and acceptance of
         specialty features. All comparable sales are within 1.0 miles of the subject and all are located within the subject market area. As lots are not
         sold by the square foot, no lot adjustments are warranted. Most weight(50%) is given to sale #1 for having the lowest level of adjustment.
         Equal secondary weight(25% each) is given to the other sales.

                                        1,955,000
             Indicated Value by Sales Comparison APPitach $
                                           1,955,000
     R Indicated Value by: Sales Comparison Approach $   CostApproach(if developed) $ 0    Income Approach (if developed) $ 0

    E The market approach was given full weight in the final value estimate. The market area lacks sufficient data to attempt
    o a credible income approach and was not attempted. The cost approach is considered check of reasonableness for the
    N market approach onl for new construction and is not attempted.
    C This appraisal is made                 X       "as is,"    Fl  subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
             completed,          subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or 17 subject to the
    L
    1        following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair:
    A
    T
    1        Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
    o conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
    N $ 1,955,000                    , as of 06/24/2022                              ,   which is the date of inspection and the effective date of this appraisal.
    Freddie Mac Form 70 March 2005                                UAD Version 9/2011                    Page 2 of 6                                                     FannieMaeForm1004March2005


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                             EXHIBIT “B”




715033:1:ATLANTA
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                                                   Northern District of Georgia
                                                        Claims Register
                                                      22-52524-bem April Latrice Spencer

                                             Judge: Barbara Ellis-Monro       Chapter: 11
                                             Office: Atlanta                  Last Date to file claims:
                                             Trustee:                         Last Date to file (Govt):
 Creditor:     (23804085)                                Claim No: 1                         Status:
 US Department of Education                              Original Filed Date: 04/04/2022     Filed by: CR
 P O Box 16448                                           Original Entered Date: 04/04/2022   Entered by: Educational Credit Management Corp.
 Saint Paul MN 55116-0448                                                                    Modified:
  Amount claimed: $6494.33
 History:
 Details        1-1 04/04/2022 Claim #1 filed by US Department of Education, Amount claimed: $6494.33 (Educational Credit Management Corp.)
 Description: (1-1) April Speed-Spencer xxx-xx-5653
 Remarks:

 Creditor:     (23801899)                                Claim No: 2                         Status:
 Georgia Department of Revenue                           Original Filed Date: 04/06/2022     Filed by: CR
 Compliance Division, ARCS - Bankruptrcy                 Original Entered Date: 04/06/2022   Entered by: Rosulala L Hamilton
 1800 Century Blvd, NE, #9100                                                                Modified:
 Atlanta, GA 30345
  Amount claimed: $23286.28
  Priority claimed: $22843.97
 History:
 Details        2-1 04/06/2022 Claim #2 filed by Georgia Department of Revenue, Amount claimed: $23286.28 (Hamilton, Rosulala)
 Description:
 Remarks:

 Creditor:      (23809346)                               Claim No: 3                         Status:
 Navient Solutions, LLC.                                 Original Filed Date: 04/08/2022     Filed by: CR
 220 Lasley Ave                                          Original Entered Date: 04/08/2022   Entered by: Ann Marie Theresa Wincek
 Wilkes-Barre, PA 18706                                                                      Modified:




https://ecf.ganb.uscourts.gov/cgi-bin/SearchClaims.pl?caseid=1217363;sc                                                                 8/16/2022
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  Amount claimed: $79521.36
 History:
 Details        3-1 04/08/2022 Claim #3 filed by Navient Solutions, LLC., Amount claimed: $79521.36 (Wincek, Ann Marie)
 Description:
 Remarks:

 Creditor:      (23801900)                                 Claim No: 4                         Status:
 Internal Revenue Service                                  Original Filed Date: 04/08/2022     Filed by: CR
 P.O. Box 7346                                             Original Entered Date: 04/08/2022   Entered by: Internal Revenue Service
 Philadelphia, PA 19101-7346                               Last Amendment Filed: 05/19/2022    Modified:
                                                           Last Amendment
                                                           Entered: 05/19/2022
  Amount claimed: $192221.04
  Secured claimed: $97749.36
  Priority claimed: $53891.16
 History:
 Details        4-1   04/08/2022 Claim #4 filed by Internal Revenue Service, Amount claimed: $187717.04 (Internal Revenue Service)
 Details        4-2   04/11/2022 Amended Claim #4 filed by Internal Revenue Service, Amount claimed: $415577.53 (Internal Revenue Service)
 Details        4-3   04/21/2022 Amended Claim #4 filed by Internal Revenue Service, Amount claimed: $192121.04 (Internal Revenue Service)
 Details        4-4   05/19/2022 Amended Claim #4 filed by Internal Revenue Service, Amount claimed: $192221.04 (Internal Revenue Service)
 Description:
 Remarks:

 Creditor:       (23822885)                                Claim No: 5                         Status:
 Renasant Bank                                             Original Filed Date: 04/21/2022     Filed by: CR
 c/o Stites & Harbison, PLLC                               Original Entered Date: 04/21/2022   Entered by: Eric J. Breithaupt
 Attn: Eric J. Breithaupt                                                                      Modified:
 303 Peachtree Street, Suite 2800
 Atlanta Georgia 30308
  Amount claimed: $412893.12
  Secured claimed: $412893.12
 History:
 Details        5-1 04/21/2022 Claim #5 filed by Renasant Bank, Amount claimed: $412893.12 (Breithaupt, Eric)
 Description: (5-1) Money Loaned/Judgment




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 Remarks: (5-1) Money Loaned/Judgment

 Creditor:     (23835814)                                 Claim No: 6                         Status:
 Wells Fargo Bank, N.A.                                   Original Filed Date: 05/03/2022     Filed by: CR
 Wells Fargo Card Services                                Original Entered Date: 05/03/2022   Entered by: Wambold, Katherine - Wells Fargo Card
 PO Box 10438, MAC F8235-02F                                                                  Services
 Des Moines, IA 50306-0438                                                                    Modified:
  Amount claimed: $9780.83
 History:
 Details        6-1 05/03/2022 Claim #6 filed by Wells Fargo Bank, N.A., Amount claimed: $9780.83 (Wambold, Katherine - Wells Fargo Card Services)
 Description:
 Remarks:

 Creditor:     (23801897)                                 Claim No: 7                         Status:
 Fulton County Tax Commissioner                           Original Filed Date: 05/05/2022     Filed by: CR
 141 Pryor Street                                         Original Entered Date: 05/05/2022   Entered by: ePOC
 Atlanta, GA 30303-0000                                                                       Modified:
  Amount claimed: $24654.89
  Secured claimed: $24654.89
 History:
 Details        7-1 05/05/2022 Claim #7 filed by Fulton County Tax Commissioner, Amount claimed: $24654.89 (ePOC)
 Description:
 Remarks: (7-1) Account Number (last 4 digits):0555

 Creditor:      (23872627)                                Claim No: 8                         Status:
 Ameris Bank                                              Original Filed Date: 06/09/2022     Filed by: CR
 C/O Ameris Bank                                          Original Entered Date: 06/09/2022   Entered by: Lisa F. Caplan
 1 Corporate Drive, Ste 360                                                                   Modified:
 Lake Zurich, IL 60047
  Amount claimed: $1530059.39
  Secured claimed: $1530059.39
 History:
 Details        8-1 06/09/2022 Claim #8 filed by Ameris Bank, Amount claimed: $1530059.39 (Caplan, Lisa)
 Description: (8-1) Loan number 1484
 Remarks: (8-1) Arrearage $323,415.85




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                                                          Claims Register Summary

                                                      Case Name: April Latrice Spencer
                                                       Case Number: 22-52524-bem
                                                                Chapter: 11
                                                           Date Filed: 04/01/2022
                                                        Total Number Of Claims: 8

                                                  Total Amount Claimed* $2278911.24
                                                  Total Amount Allowed*
                                                    *Includes general unsecured claims

                  The values are reflective of the data entered. Always refer to claim documents for actual amounts.

                                                                              Claimed    Allowed
                                                  Secured               $2065356.76
                                                  Priority                $76735.13
                                                  Administrative



                                                           PACER Service Center
                                                                 Transaction Receipt
                                                                   08/16/2022 16:33:29
                                       PACER                         Client
                                                      Breithaupt                 Renasant v. April Spencer
                                       Login:                        Code:
                                                                                 22-52524-bem Filed or
                                                      Claims         Search
                                       Description:                              Entered From: 1/1/1900 Filed
                                                      Register       Criteria:
                                                                                 or Entered To: 8/16/2022
                                       Billable
                                                      2              Cost:       0.20
                                       Pages:




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